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                                                  EXHIBIT A

                                UNITED STATES BANKRUPTCY COURT

                              FOR THE DISTRICT OF SOUTH CAROLINA


     IN RE:                                                                C/A No.   16-04078

     Joyce Campbell White,                                           STATEMENT OF DISPUTE
                                                                       AND STIPULATION
                                                    Debtor.



         The undersigned hereby certify that after consultation, the hearing on the Motion for Relief from
Stay originally scheduled for September 6, 2018, after good faith efforts cannot be settled and remains
contested so as to require the presentation of evidence and/or argument to the Court for determination. The
following information is presented by way of stipulation of the parties:
    1.       Issues to be decided by the Court.
             a. Whether BSI Financial should be granted relief from the automatic stay pursuant to 11
                 U.S.C. § 362(d)(1).
    2.       Position of Party/Parties (state w/ specificity).
             a. Debtor’s Position: Debtor believes that she is not delinquent on her post-petition
                 mortgage payments in the amount of $9,204.86, but has made payments through money
                 orders and has been unable to date to provide proof of payments other than those shown
                 on Exhibit D attached to the Motion for Relief from Stay. As such, Debtor will request at
                 the hearing 35 months to cure the arrearage, which is the number of months remaining in
                 her Chapter 13 case.
    3.       Names of Witnesses to be called at the hearing.
             a. Debtor does not intend to call any witnesses.
    4.       Exhibits/Evidence to be presented (state whether admission is stipulated or any grounds for
             objection).
             a. Debtor does not intend to present any evidence.
    5.       Statutory, Case Law or other Applicable Authority.
             a. 11 U.S.C. § 362(d)(1)
             b. In re Bowen, C/A No. 13-04851-JW
    6.       Estimated Length of Hearing.
             a. 15 minutes
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     7.      Telephone and Facsimile Number, Electronic Mail address of Counsel/Party/Parties.
                 Lauren J. Schumann
                 STEADMAN LAW FIRM, P.A.
                 Post Office Box 60367
                 North Charleston, SC 29419
                 (843) 529-1100
                 District Court I.D. #11350
                 LSchumann@steadmanlawfirm.com
8.        Final Authority. Unless otherwise indicated by a separately filed motion, filed simultaneously
herewith, which requests that the Court determine whether this proceeding is subject to the entry of final
orders or judgments by this Court, the parties submitting this Joint Statement of Dispute consent to this
Court entering final orders and judgments in this proceeding.


_September 5, 2018___                                    _/s/ Lauren J. Schumann___________
 (DATED)                                                                  (SIGNATURE)

_________________                                        _______________________________
 (DATED)                                                              (SIGNATURE)
